            Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 1 of 11 PageID #: 111

    '   :    .
~O 24SB (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet I


                                               UNITED STATES DISTRICT COURT*
                                                              Eastern District of New York
                 UNITEDSTATESOFAMERJCA                                          ~        JUDGMENT IN A               c=~~Fle,;
                                        v.                                    )
                                                                              )
                         JOSEPH ASMAR                                                    Case Number: 1:15CR00491-001{ENV)
                                                                              )
                                                                              )          USM Number:            89866-053
                                                                              )
                                                                              )           Sanford Talkln and Aaron Altman
                                                                              )          Defendant's Attomcy
THE DEFENDANT:
fill pleaded guilty to count(s)              One(1) of a two count Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                        Nature of Offense                                                            Offense Ended
 18 U.S.C. § 1956(h) and . CONSPIRACY TO LAUNDER MONEY                                                               9/30/2015
 18 U.S.C. § 1956(a)(3)            '}



       The defendant is sentenced as provided in pages 2 through                    7          of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
liZJ Count(s)     2 and underlying charges                   0 is     liZJ are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 da_ys of an~ change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defen<lant must notify the court and United States attorney of material clian in economic circwnstances.

                                  c.
                                                                                                         ....   -
                                                                                        s/ENV
                                                                            Signature of Judge



                                                                             Eric N. Vitaliano, U.S.D.J.
                                                                            Name and Title of Judge

                                                                                                          FEB         1 2018
                                                                            Date




                                  \!


                                  l-
           Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 2 of 11 PageID #: 112


AO 24SB (Rev. 09117)   Jud~cnt in Criminal Case
                       Sheet 2 - lmj>risonmc:nt
                                                                                                    Judgment- Page      2   of   7
DEFENDANT: JOSEPH ASMAR
CASE NUMBER: 1:15CR00491-001(ENV)

                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
tennof:                         ·
 Twenty (20) months




    D The court makes the following recommendations to the Bureau of Prisons:




    liZI   The defendant is rem~ded to the custody of the United States Marshal.
                                 ·'
    0 The defendant shall s~ender to the United States Marshal for this district:
           D at                                   D a.m.      D p.m.      on
                    -----------~

           0 as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                     to

at - - - - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                                                UNrrED STATES MARSHAL
         Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 3 of 11 PageID #: 113


 AO 24SB (Rev. 09/17) Judgment inn Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                      Judgment-Page __l_ of              1
 DEFENDANT: JOSEPH ASMAR
 CASE NUMBER: 1:15CR_00491-001(ENV)
                                                      SUPERVISED RELEASE
                                      -
 Upon release from imprisonment, you will be on supervised release for a tenn of:
  Three (3) years




                                     '(



                                                     MANDATORY CONDITIONS

I.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within IS days of release from
     imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
             D The above drug testing condition is suspended, based on the court's detennination that you
                  pose a low risk of future substance abuse. (check tiapplicable)
4.    O You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check Ifapplicable}
S.    D You must cooperate in the collection of DNA as directed by the probation officer. (check tiapplicable}
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check ff applicable)
7,    D You must participat~ in an approved program for domestic violence. (check Ifapplicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




                               :.1
        Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 4 of 11 PageID #: 114


• AO 24SB (Rev. 09/17) Judgment in,a Criminal Case
                        Sheet 3A- Supervised Release
                                                                                                Judgment-Pago _ _4_ _ of _ ___...7_ __
 DEFENDANT: JOSEPH ASMAR
 CASE NUMBER: 1:15CR00491-001(ENV)

                                         STANDARD CONDITIONS OF SUPERVISION
                                    ""
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep infonned, report to the court about, and bring about improvements in your conduct and condition.
 1.    You must report to the P!Obation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
S.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with}, you must notify the probation officer at least 1Odays before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibite~ by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time:(at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If yop plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you m\)$t notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communieate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, yQ.u must not knowingly communicate or interact with that person without first getting the pennission of the
      probation officer.        ~
9.    If you are arrested or qu~tioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, poss~s, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers}.
11.   You must not act or maliie any agreement with a law enforcement agency to act as a confidential human source or infonnant without
      first getting the pennissii)n of the court.
12.   If the probation officer detennines that you pose a risk to another person (including an organization}, the probation officer may
      require you to notify th~4}lerson about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office. Use Only
A U.S. probation officer has ihstructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these co~ditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, availablC,!at: www.uscourts.gov.

Defendanrs Signature                                                                                      Date _ _ _ _ _ _ _ _ _ __




                              ~..

                              :~
                              l
       Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 5 of 11 PageID #: 115

 AO 24secitcv. 09117) Judgment~ a Criminal Case
                     Sheil 3D- Supervised Release
                                                                                    Judgment-Page   __§__   of   1
DEFENDANT: JOSEPH ASMAR
CASE NUMBER: 1:15CR00491-001(ENV)

                                       SPECIAL CONDITIONS OF SUPERVISION
                              ,
 1. The defendant must cotnply with the Forfeiture Provision •
                              .


2. The defendant must cooperate with and abide by all Instructions of immigration
authorities.

3. If deported, the defendant may not re-enter the United States Illegally•




                              .(
         Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 6 of 11 PageID #: 116

AO 24ss (Rev. 09/17) Judgment in a Criminal Case
                     Sheet S - CrimJnal Monetary Penalties
                                                                                                         Judgment-Page _.&6_       or __....z__
DEFENDANT: JOSEPH ASMAR
CASE NUMBER: 1:15CR00491-001 (ENV)
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                  JVTA Assessment*                Fine                       Restitution
TOTALS             s 100.00                    s   0.00                        s   0.00                     s 0.00

CJ The detennination of restitution is deferred until
     after such detennination.                               ---- • An         Amended Judgment in a Criminal Case (AO 24SC) will be entered


0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately pro1_>ortion~~ P.a~ent, unless s~cified otherwise in
     the priori~ order or percentage payment column below. However, pursuant to 18 U.S.C. § 3604{1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                      Total Loss**            Restitution Ordered              Priority or Percentage

                                .!




                                t

TOTALS                          ~    s _______o_.o_o_                      S                         0.00
                                                                             ----------~~


CJ    Restitution amount ordered pursuant to plea agreement $

CJ    The defendant must pay·interest on restitution and a tine of more than $2,SOO, unless the restitution or tine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 maybe subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

CJ    The court detennined that the defendant dces not have the ability to pay interest and it is ordered that:
      0 the interest requirement is waived for the           CJ fine   0 restitution.
      D the interest requirement for the           D fine      0   restitution is modified as follows:

•Justice for Victims of Trafficking Act of201S, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 1l3A ofTitle 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 7 of 11 PageID #: 117
      •           •                         ;j
 AO 2458 (Re,v. 09/17) Judgment In a Criminal Case
                       Sheet 6 - Schedule of Payments
                                                                                                                 Judgment-Page   _7_       or __7__
 DEFENDANT: JOSEPH ASMAR
 CASE NUMBER: 1:15CR00491-001(ENV)

                                                           SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
 A        fZl     Lump sum paymentiof $          100.00             due immediately, balance due
                                           \.\


                  0      not later than r.                              , or
                  liZI   in accordance with 0      c,     0 D,     D E,or         rill F below; or
B         0      Payment to begin immediately (may be combined with             oc,         OD, or       D F below); or
C         D Payment in equal                      (e.g., weelc{y, monthly, quarterly) installments of $                             over a period of
                - - - - (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D         0 Payment in equal                      (e.g., week{y, monthly, quarterly) installments of S                          over a period of
                - - - - (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision;, or
                                       a
E         D Payment during th~enn of supervised release will commence within                         (e.g., JO or 60 days) after release from
                 imprisonment. The.court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
                                       g
F         ll] Special instructions.:regarding the payment of criminal monetary penalties:
                  Special Assessment fee of $100.00 is due immediately. Payment should be submitted to the Clerk of the Court,
                  U.S. District Court for the Eastern District of New York, 225 Cadman Plaza East, Brooklyn, NY 11201.



Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone~ penalties is due during
the period of imprisonment. !JI criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D         Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding paye.~, if appropriate.


                                     -I

                                     :.!
D         The defendant shall pay the cost of prosecution.

D         The defendant shall pay the following court cost(s):

Ill       The defendant shall forfeit the defendant's interest in the following property to the United States:
           PLEASE SEE ATTACHED ORDER OF FROFEITURE

Payments shall be applied in 1J.ie following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) tine principal, (S) tine
interest, (6) community restittttion, (7) NTA assessment, {8) penalties, and (9) costs, including cost of prosecution and court costs.




                                                                                                             \
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                        'I




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       Case 1:15-cr-00491-ENV Document 16·1 Filed 12104/17 Page 1 of 4 PagelD #: 42                              /
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                                                                                                                     ~
                                                                                  US DISTRICT COURTE.D.N.Y. (~{r
      SLR:LDM~TRP
      F. #2013ROl 789/0CDETF# NY-NYE·74S
                       f;
                                                                                  *     JAN 30 2018         *\   I   I
      UNITED StATES DISTRICT COURT                                                 BROOKLYN OFFICE
      EASTERN DISTRICT OF NEW YORK
      ····----~--·····------···----·X
                     :j
      UNITED STATES OF AMERICA                                         ORDER OF FORFEITURE

             ·against-                                                 lS-CR-491 (ENV)

      JOSEPH ASMAR,

                                  Defendant.

      ·······-~---······~-------···-X
                 • WHEREAS, on or about May 26, 2017, JOSEPH ASMAR (the "defendant"),
                 .)


      entered a plea of guilty to the offense charged in Count One of the above-captioned

      Indictment, charging a violation of 18 U.S.C. § 19S6(h); and

                 : WHEREAS, pursuant to 18 U.S.C. § 982(a)(l ), the defendant has consented to
                 l




      the entry ofa forfeiture money judgment in the amount of two hundred fifty thousand dollars
     and no cenfs ($250,000.00) (the "Forfeiture Money Judgment''), as property, real or penonal,
                 \
                  ..
      involved in ·a violation of 18 U.S.C. § 19S6(h), or property traceable to such property, and/or

     as substitu~ assets, pursuant to 21 U.S.C. § 8S3(p).

                             IT IS HEREBY ORDERED, ADJUDGED AND DECRBED, on consent, by

     and between the United States and the defendant as follows:

                             l.   The defendant shall forfeit to the United States the full amount of the

     Forfeiture Money Judgment, pursuant to 18 U.S.C. § 982(a)(l) and 21 U.S.C. § 8S3(p).
                 I



                i            2.   All payments made towards the Forfeiture Money Judgment shall be

     made by money order, certified or official bank check, payable to "United States Marshals
Case 1:15-cr-00491-ENV Document 23 Filed 02/02/18 Page 9 of 11 PageID #: 119

     Case 1:15·CI·00491-ENV Document 20 Filed 01/30/18 Page 2 of 4 PagelD #: 10s

       Case 1:15-cr-00491-ENV Document 16-1 Filed 12104/17 Page 2 of 4 PagelD #: 43

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                  '.t



      Service," with the criminal docket number noted on the face of the check. The defendant

      shall cause said check to be delivered by overnight delivery to Assistant United States

      Attorney Tanisha Payne, United States Attorney's Office, Eastem District ofNew York.

      271-A Cadman Plaza East, Brooklyn, New York 11201. The Forfeiture Money Judgment

     shall be paid in full on or before the date of the defendant's sentencing (the "Due Date").

                        3.   Upon entry of this Order or Forfeiture ("Order"), the United States

     Attorney Oeneral or his designee is authorized to conduct any proper discovery in

     accordance with Fed. R. Crim. P. 32.2(b)(3) and (c). The United States alone shall hold title

     to the monies paid by the defendant to satisfy the Forfeiture Money Judgment following the
                .
     Court's entty of the judgment of conviction.

                 ;\ 4.       The defendant shall not file or interpose any claim or assist others to

     file or inte~se any claim to any property against which the government seeks to execute the

     Forfeiture Money Judgment in any administrative or judicial proceeding. The defendant

     shall fully assist the government in effectuating the payment of the Forfeiture Money

     Judgment.   ·If the Forfeiture Money Judgment is not received as provided above, the
     defendant shall forfeit any other property of his up to the value of the outstanding balance,

     pursuant to 21 U.S.C. § 8S3(p).
                 :; S.       The defendant knowingly and voluntarily waives his right to any

     required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,

     including nodce set forth in an indictment or infonnation. In addition, the defendant

     knowingly   and voluntarily waives his right, if any' to a jury trial on the forfeiture of said
     United States v. Jos;ph Asmar. 1S·CR-0491 (ENV)
     Order of F~eiture
     Page2
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        case 1:15-cr-00491-ENV Document 20 Flied 01/30/18 Page 3 of 4 PagelD #: 106
          Case 1:15-cr-00491-ENV Document 16-1 Filed 12/04/17 Page 3 of 4 PagelD #: 44



         monies andlor properties, and waives all constitutional, legal and equitable defenses to the

         forfeiture of said monies and/or properties, including but not limited to, any defenses based

         on prlncipl~ of double jeopardy, the Ex Post Facto clause of the Constitution, the statute of

         limitations, venue, or any defense under the Eighth Amendment, including a claim of

         excessive fines.

                        6.     The entry and payment of the Forfeiture Money Judgment is not to be

                    a
         considered payment of a fine, penalty, restitution loss amount or a payment of any income

         taxes that may be due and shall survive bankruptcy.

                    ; 7.       Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Ordershall
                   .
         become final as to the defendant at the time of his sentencing and shall be made part of the

         defendant'~ sentence and included In his judgment of conviction. This Order shall become

         the Final c>}.der of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2). At that time, the

         properties fprfeited herein shall be forfeited to the United States for disposition in accordance

        with the law.

                        8.     This Order shall be binding upon the defendant and the successors,

        administrators, heirs, assigns and transferees of the defendant, and shall survive the

        bankruptcy of any of them.
                    2
                        9.     This Order shall be final and binding only upon the Court's ••so

        ordering" of this Order.




        United States y. Joseph Asmar. 15-CR-0491 (ENV)
        Order of F<irfelture
        Page3
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                ,.


    ... case 1:15-cr-00491-ENV          Document 20 Filed 01/30/18 Page 4 of 4 PagelD #: 107
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                     1•
                     i    10.   The Court shall retainjurisdiction over this action to enforce

       complianc~;with the terms of this Order, and to     amend it as necessary, pursuant to Fed. R.

       Crim. P. 32.2(e).

                          11.   The Clerk of the Court is directed to send, by inter-office mail, five (S)

       certified copies of this executed Order of Forfeiture to the United States Attorney's Office,

       Eastern District ofNew York, Attn: FSA Paralegal Nicole Brown, 271-A Cadman Plu.a

       East, Brooklyn, New York 11201.

       Dated: Brooklyn, New York
              - - - - ii&lll!lf~-
                                                     ~D:                        /
               JAN JO 2018                          Isl USDJ ERIC N. VITALIANO
                                                     HONORXBLB ERIC N. VITALIANO
                                                      UNITED STATES DISTRICT JUDOB
                                                      EASTERN DISTRICT OF NEW YORK




                .~
                J



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      Order of Forfeiture
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